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1                                   UNITED STATES DISTRICT COURT
2                                            DISTRICT OF NEVADA
3
     BANK OF AMERICA, N.A.,            )
4                                      )
                  Plaintiff,           )                             Case No.: 2:16-cv-00487-GMN-PAL
5
          vs.                          )
6                                      )                                             ORDER
     SBH 4 HOMEOWNERS’ ASSOCIATION, et )
7    al.,                              )
                                       )
8
                  Defendants.          )
9                                      )

10           Pending before the Court is the June 16, 2020 Notice of Settlement, (ECF No. 80), 1
11   stating that “Bank of America, N.A. (BANA) and BDJ Investments, LLC (BDJ) have reached a
12   settlement in principle to resolve the claims as to BANA and BDJ. BANA is also engaged in
13   settlement discussions with SBH 4 Homeowners Association (HOA).” (Notice of Settlement
14   1:17–19, ECF No. 80). Accordingly, the parties shall have thirty (30) days from the date of this
15   Order to file a stipulation for dismissal or a joint status report explaining why dismissal
16   documents have not been filed. Moreover, in light of the Notice of Settlement, BANA’s
17   Motion for Partial Summary Judgment, (ECF No. 66), is DENIED without prejudice as moot.
18           Also pending before the Court is the Motion to Remove Attorney Tenesa S. Powell from
19   the Electronic Service List, (ECF No. 73), in this case. On September 9, 2020, the Court
20   granted the Motion to Remove Attorneys Darren T. Brenner and Tenesa S. Powell from the
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23     This document also contained a Stipulation and Order to Stay Proceedings. On June 16, 2020, a Clerk’s Notice
     was entered on the docket advising that attorney action was required because the document was filed in violation
24   of Local Rule IC 2-2(b): “For each type of relief requested or purpose, a separate document must be filed.”
     (Clerk’s Notice, ECF No. 81). The Notice further stated: “Counsel is advised to file the ‘Stipulation to Stay
25   Proceedings’ contained within ECF No. 80, using the correct docket event, to be in compliance with LR IC 2-
     2(b) and LR IC 2-2(c) by filing two separate documents for each request or purpose.” (Id.). To date, no separate
     stipulation to stay proceedings has been filed.

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1    Electronic Service List, (ECF No. 83). Accordingly, the Motion to Remove Attorney Tenesa S.
2    Powell from the Electronic Service List, (ECF No. 73), is DENIED as moot.
3    I.     CONCLUSION
4           IT IS HEREBY ORDERED that the parties shall have thirty (30) days from the date of
5    this Order to file a stipulation for dismissal or a joint status report explaining why dismissal
6    documents have not been filed.
7           IT IS FURTHER ORDERED that, in light of the Notice of Settlement, BANA’s
8    Motion for Partial Summary Judgment, (ECF No. 66), is DENIED without prejudice as moot.
9           IT IS FURTHER ORDERED that the Motion to Remove Attorney Tenesa S. Powell
10   from the Electronic Service List, (ECF No. 73), is DENIED as moot.
11                      20 day of October, 2020.
            DATED this ____
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                                                    ___________________________________
14
                                                    Gloria M. Navarro, District Judge
                                                    United States District Court
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